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  8
                               UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
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 11         PLATINUM TOOLS, LLC, a                     Case   No.       2:20-cv-04058-MCS-
            California limited liability company,      (PVCx)
 12
                        Plaintiff,                      STIPULATED PROTECTIVE
 13                                                     ORDER
                  vs.
 14
            SIMPLY45, LLC, a Florida limited
 15         liability company; STRUCTURED
            CABLE PRODUCTS, INC., a Florida
 16         corporation; TODD COTA, an
            individual; BLAKE TALLY, an
 17         individual; and DOES 1 through 10,
            inclusive,
 18
                        Defendant.
 19
       1.       INTRODUCTION
 20
                1.1     PURPOSES AND LIMITATIONS
 21
                Discovery in this action is likely to involve production of confidential,
 22
       proprietary, or private information for which special protection from public
 23
       disclosure and from use for any purpose other than prosecuting this litigation may
 24
       be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 25
       enter the following Stipulated Protective Order. The parties acknowledge that this
 26
       Order does not confer blanket protections on all disclosures or responses to
 27
       discovery and that the protection it affords from public disclosure and use extends
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  1    only to the limited information or items that are entitled to confidential treatment
  2    under the applicable legal principles. The parties further acknowledge, as set forth
  3    in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  4    file confidential information under seal; Civil Local Rule 79-5 sets forth the
  5    procedures that must be followed and the standards that will be applied when a party
  6    seeks permission from the court to file material under seal.
  7          1.2    GOOD CAUSE STATEMENT
  8          This action is likely to involve trade secrets, customer and pricing lists and
  9    other valuable research, development, commercial, financial, technical and/or
 10    proprietary information for which special protection from public disclosure and
 11    from use for any purpose other than prosecution of this action is warranted. Such
 12    confidential and proprietary materials and information may consist of, among other
 13    things, confidential business or financial information, information regarding
 14    confidential business practices, or other confidential research, development, or
 15    commercial information (including information implicating privacy rights of third
 16    parties), information otherwise generally unavailable to the public, or which may be
 17    privileged or otherwise protected from disclosure under state or federal statutes,
 18    court rules, case decisions, or common law. Accordingly, to expedite the flow of
 19    information, to facilitate the prompt resolution of disputes over confidentiality of
 20    discovery materials, to adequately protect information the parties are entitled to keep
 21    confidential, to ensure that the parties are permitted reasonable necessary uses of
 22    such material in connection with this action, to address their handling of such
 23    material at the end of the litigation, and to serve the ends of justice, a protective
 24    order for such information is justified in this matter. The parties shall not designate
 25    any information/documents as confidential without a good faith belief that such
 26    information/documents have been maintained in a confidential, non-public manner,
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  1    and that there is good cause or a compelling reason why it should not be part of the
  2    public record of this case.
  3    2.     DEFINITIONS
  4           2.1    Action: This pending federal law suit, entitled Platinum Tools, LLC v.
  5    Simply45 LLC et al. (Case No. CV 20-04058-MCS-PVC).
  6           2.2    Challenging Party: a Party or Non-Party that challenges the
  7    designation of information or items under this Order.
  8           2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  9    how it is generated, stored or maintained) or tangible things that qualify for
 10    protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 11    the Good Cause Statement.
 12           2.4    “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
 13    Information or Items:     Extremely sensitive “CONFIDENTIAL” Information or
 14    Items, the disclosure of which to another Party or Non-Party would create a
 15    substantial risk of serious harm that could not be avoided by less restrictive means.
 16           2.5    Counsel: Outside Counsel of Record and House Counsel (as well as
 17    their support staff).
 18           2.6    Designating Party: a Party or Non-Party that designates information or
 19    items that it produces in disclosures or in responses to discovery as
 20    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
 21    ONLY.”
 22           2.7    Disclosure or Discovery Material: all items or information, regardless
 23    of the medium or manner in which it is generated, stored, or maintained (including,
 24    among other things, testimony, transcripts, and tangible things), that are produced or
 25    generated in disclosures or responses to discovery in this matter.
 26           2.8    Expert: a person with specialized knowledge or experience in a matter
 27    pertinent to the litigation who has been retained by a Party or its counsel to serve as
 28
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  1    an expert witness or as a consultant in this Action. Expert witnesses shall have no
  2    other relationship with any of the parties hereto or any other competitors.
  3          2.9    House Counsel: attorneys who are employees of a party to this Action.
  4    House Counsel does not include Outside Counsel of Record or any other outside
  5    counsel.
  6          2.10 Non-Party: any natural person, partnership, corporation, association, or
  7    other legal entity not named as a Party to this action.
  8          2.11 Outside Counsel of Record: attorneys who are not employees of a
  9    party to this Action but are retained to represent or advise a party to this Action and
 10    have appeared in this Action on behalf of that party or are affiliated with a law firm
 11    which has appeared on behalf of that party, and includes support staff.
 12          2.12 Party: any party to this Action, including all of its officers, directors,
 13    employees, consultants, retained experts, and Outside Counsel of Record (and their
 14    support staffs).
 15          2.13 Producing Party: a Party or Non-Party that produces Disclosure or
 16    Discovery Material in this Action.
 17          2.14 Professional Vendors: persons or entities that provide litigation
 18    support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 19    demonstrations, and organizing, storing, or retrieving data in any form or medium)
 20    and their employees and subcontractors.
 21          2.15 Protected Material: any Disclosure or Discovery Material that is
 22    designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
 23    ATTORNEYS’ EYES ONLY.”
 24          2.16 Receiving Party: a Party that receives Disclosure or Discovery
 25    Material from a Producing Party.
 26    //
 27    //
 28
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  1    3.    SCOPE
  2          The protections conferred by this Stipulation and Order cover not only
  3    Protected Material (as defined above), but also (1) any information copied or
  4    extracted from Protected Material; (2) all copies, excerpts, summaries, or
  5    compilations of Protected Material; and (3) any testimony, conversations, or
  6    presentations by Parties or their Counsel that might reveal Protected Material.
  7          Any use of Protected Material at trial will be governed by the orders of the
  8    trial judge. This Order does not govern the use of Protected Material at trial.
  9

 10    4.    DURATION
 11          Even after final disposition of this litigation, the confidentiality obligations
 12    imposed by this Order will remain in effect until a Designating Party agrees
 13    otherwise in writing or a court order otherwise directs. Final disposition will be
 14    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 15    or without prejudice; and (2) final judgment herein after the completion and
 16    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 17    including the time limits for filing any motions or applications for extension of time
 18    pursuant to applicable law.
 19

 20    5.    DESIGNATING PROTECTED MATERIAL
 21          5.1    Exercise of Restraint and Care in Designating Material for Protection.
 22    Each Party or Non-Party that designates information or items for protection under
 23    this Order must take care to limit any such designation to specific material that
 24    qualifies under the appropriate standards. The Designating Party must designate for
 25    protection only those parts of material, documents, items, or oral or written
 26    communications that qualify so that other portions of the material, documents,
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  1    items, or communications for which protection is not warranted are not swept
  2    unjustifiably within the ambit of this Order.
  3          Mass, indiscriminate, or routinized designations are prohibited. Designations
  4    that are shown to be clearly unjustified or that have been made for an improper
  5    purpose (e.g., to unnecessarily encumber the case development process or to impose
  6    unnecessary expenses and burdens on other parties) may expose the Designating
  7    Party to sanctions.
  8          If it comes to a Designating Party’s attention that information or items that it
  9    designated for protection do not qualify for protection, that Designating Party must
 10    promptly notify all other Parties that it is withdrawing the inapplicable designation.
 11          5.2    Manner and Timing of Designations. Except as otherwise provided in
 12    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 13    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 14    under this Order must be clearly so designated before the material is disclosed or
 15    produced.
 16          Designation in conformity with this Order requires:
 17          (a) for information in documentary form (e.g., paper or electronic documents,
 18    but excluding transcripts of depositions or other pretrial or trial proceedings), that
 19    the Producing Party affix at a minimum, the legend “CONFIDENTIAL” or
 20    “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”, to each page that
 21    contains protected material in a place or manner which avoids any interference with
 22    the legibility of the material. If only a portion or portions of the material on a page
 23    qualifies for protection, the Producing Party also must clearly identify the protected
 24    portion(s) (e.g., by making appropriate markings in the margins).
 25                 A Party or Non-Party that makes original documents available for
 26    inspection need not designate them for protection until after the inspecting Party has
 27    indicated which documents it would like copied and produced. During the
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  1    inspection and before the designation, all of the material made available for
  2    inspection will be deemed “CONFIDENTIAL.” After the inspecting Party has
  3    identified the documents it wants copied and produced, the Producing Party must
  4    determine which documents, or portions thereof, qualify for protection under this
  5    Order. Then, before producing the specified documents, the Producing Party must
  6    affix the “CONFIDENTIAL legend” or “HIGHLY CONFIDENTIAL --
  7    ATTORNEYS’ EYES ONLY” legend to each page that contains Protected Material.
  8    If only a portion or portions of the material on a page qualifies for protection, the
  9    Producing Party also must clearly identify the protected portion(s) (e.g., by making
 10    appropriate markings in the margins).
 11          (b) for testimony given in depositions that the Designating Party identify the
 12    Disclosure or Discovery Material on the record, before the close of the deposition all
 13    protected testimony, or within 10 days after the receipt of a transcript of deposition
 14    or trial testimony designate any portion of the transcript as “CONFIDENTIAL”, or
 15    “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”. The deposition
 16    transcript shall be treated as “CONFIDENTIAL” until such designation is made or
 17    the expiration of the 10 day period, whichever is first.
 18          (c) for information produced in some form other than documentary and for
 19    any other tangible items, that the Producing Party affix in a prominent place on the
 20    exterior of the container or containers in which the information is stored the legend
 21    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
 22    ONLY.” In addition to, or in alternative to such stamping and writing, the Producing
 23    Party may also designate “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
 24    ATTORNEYS’ EYES ONLY” by identifying the document numbers in an index,
 25    list, or table, made available to the other party. If only a portion or portions of the
 26    information warrants protection, the Producing Party, to the extent practicable, will
 27    identify the protected portion(s).
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  1              5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  2    failure to designate qualified information or items does not, standing alone, waive
  3    the Designating Party’s right to secure protection under this Order for such material.
  4    Upon timely correction of a designation, the Receiving Party must make reasonable
  5    efforts to assure that the material is treated in accordance with the provisions of this
  6    Order and the Receiving Party shall return all copies of such documents and/or
  7    things to the Producing Party within five (5) business days of receipt of such notice
  8    and shall not further use such items for any purpose until further order of the Court.
  9    The return of any discovery item to the Producing Party shall not in any way
 10    preclude the Receiving Party from moving the Court for a ruling that the document
 11    or thing was never privileged or otherwise immune from disclosure.
 12

 13    6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 14              6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 15    designation of confidentiality at any time that is consistent with the Court’s
 16    Scheduling Order.
 17              6.2   Meet and Confer. The Challenging Party will initiate the dispute
 18    resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
 19    et seq.
 20              6.3   The burden of persuasion in any such challenge proceeding will be on
 21    the Designating Party. Frivolous challenges, and those made for an improper
 22    purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 23    parties) may expose the Challenging Party to sanctions. Unless the Designating
 24    Party has waived or withdrawn the confidentiality designation, all parties will
 25    continue to afford the material in question the level of protection to which it is
 26    entitled under the Producing Party’s designation until the Court rules on the
 27    challenge.
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  2    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  3          7.1      Basic Principles. A Receiving Party may use Protected Material that is
  4    disclosed or produced by another Party or by a Non-Party in connection with this
  5    Action only for prosecuting, defending, or attempting to settle this Action. Such
  6    Protected Material may be disclosed only to the categories of persons and under the
  7    conditions described in this Order. When the Action has been terminated, a
  8    Receiving Party must comply with the provisions of section 13 below (FINAL
  9    DISPOSITION).
 10          Protected Material must be stored and maintained by a Receiving Party at a
 11    location and in a secure manner that ensures that access is limited to the persons
 12    authorized under this Order.
 13          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
 14    otherwise ordered by the court or permitted in writing by the Designating Party, a
 15    Receiving Party may disclose any information or item designated
 16    “CONFIDENTIAL” only to:
 17                (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 18    well as employees of said Outside Counsel of Record to whom it is reasonably
 19    necessary to disclose the information for this Action;
 20                (b) the officers, directors, and employees (including House Counsel) of
 21    the Receiving Party to whom disclosure is reasonably necessary for this Action;
 22                (c) Experts (as defined in this Order) of the Receiving Party to whom
 23    disclosure is reasonably necessary for this Action and who have signed the
 24    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 25                (d) the Court and its personnel;
 26                (e) court reporters and their staff;
 27

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   1               (f) professional jury or trial consultants, mock jurors, and Professional
   2   Vendors to whom disclosure is reasonably necessary for this Action and who have
   3   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4               (g) the author or recipient of a document containing the information or a
   5   custodian or other person who otherwise possessed or knew the information;
   6               (h) during their depositions, witnesses, and attorneys for witnesses, in the
   7   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   8   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
   9   will not be permitted to keep any confidential information unless they sign the
  10   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  11   agreed by the Designating Party or ordered by the court. Pages of transcribed
  12   deposition testimony or exhibits to depositions that reveal Protected Material may
  13   be separately bound by the court reporter and may not be disclosed to anyone except
  14   as permitted under this Stipulated Protective Order; and
  15               (i) any mediator or settlement officer, and their supporting personnel,
  16   mutually agreed upon by any of the parties engaged in settlement discussions.
  17         7.3      Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  18   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
  19   writing by the Designating Party, a Receiving Party may disclose any information or
  20   item designated “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
  21   only to:
  22               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
  23   well as employees of said Outside Counsel of Record to whom it is reasonably
  24   necessary to disclose the information for this Action;
  25               (b) Experts (as defined in this Order) of the Receiving Party to whom
  26   disclosure is reasonably necessary for this Action and who have signed the
  27   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
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   1            (c) the Court and its personnel;
   2            (d) court reporters and their staff;
   3            (e) professional jury or trial consultants, mock jurors, and Professional
   4   Vendors to whom disclosure is reasonably necessary for this Action and who have
   5   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   6            (f) the author or recipient of a document containing the information or a
   7   custodian or other person who otherwise possessed or knew the information;
   8            (g) during their depositions, witnesses ,and attorneys for witnesses, in the
   9   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  10   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
  11   will not be permitted to keep any confidential information unless they sign the
  12   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  13   agreed by the Designating Party or ordered by the court. Pages of transcribed
  14   deposition testimony or exhibits to depositions that reveal Protected Material may
  15   be separately bound by the court reporter and may not be disclosed to anyone except
  16   as permitted under this Stipulated Protective Order; and
  17            (h) any mediator or settlement officer, and their supporting personnel,
  18   mutually agreed upon by any of the parties engaged in settlement discussions.
  19

  20   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  21   IN OTHER LITIGATION
  22         If a Party is served with a subpoena or a court order issued in other litigation
  23   that compels disclosure of any information or items designated in this Action as
  24   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  25   ONLY,” that Party must:
  26            (a) promptly notify in writing the Designating Party. Such notification
  27   will include a copy of the subpoena or court order;
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   1             (b) promptly notify in writing the party who caused the subpoena or order
   2   to issue in the other litigation that some or all of the material covered by the
   3   subpoena or order is subject to this Protective Order. Such notification will include
   4   a copy of this Stipulated Protective Order; and
   5             (c) cooperate with respect to all reasonable procedures sought to be
   6   pursued by the Designating Party whose Protected Material may be affected.
   7         If the Designating Party timely seeks a protective order, the Party served with
   8   the subpoena or court order will not produce any information designated in this
   9   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
  10   EYES ONLY” before a determination by the court from which the subpoena or
  11   order issued, unless the Party has obtained the Designating Party’s permission. The
  12   Designating Party will bear the burden and expense of seeking protection in that
  13   court of its confidential material and nothing in these provisions should be construed
  14   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
  15   directive from another court.
  16

  17   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  18   PRODUCED IN THIS LITIGATION
  19             (a) The terms of this Order are applicable to information produced by a
  20   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  21   CONFIDENTIAL -- ATTORNEYS’ EYES ONLY.” Such information produced by
  22   Non-Parties in connection with this litigation is protected by the remedies and relief
  23   provided by this Order. Nothing in these provisions should be construed as
  24   prohibiting a Non-Party from seeking additional protections.
  25             (b) In the event that a Party is required, by a valid discovery request, to
  26   produce a Non-Party’s confidential information in its possession, and the Party is
  27

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   1   subject to an agreement with the Non-Party not to produce the Non-Party’s
   2   confidential information, then the Party will:
   3                (1) promptly notify in writing the Requesting Party and the Non-Party
   4   that some or all of the information requested is subject to a confidentiality
   5   agreement with a Non-Party;
   6                (2) promptly provide the Non-Party with a copy of the Stipulated
   7   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   8   specific description of the information requested; and
   9                (3) make the information requested available for inspection by the
  10   Non-Party, if requested.
  11             (c) If the Non-Party fails to seek a protective order from this court within
  12   14 days of receiving the notice and accompanying information, the Receiving Party
  13   may produce the Non-Party’s confidential information responsive to the discovery
  14   request. If the Non-Party timely seeks a protective order, the Receiving Party will
  15   not produce any information in its possession or control that is subject to the
  16   confidentiality agreement with the Non-Party before a determination by the court.
  17   Absent a court order to the contrary, the Non-Party will bear the burden and expense
  18   of seeking protection in this court of its Protected Material.
  19

  20   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  21         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  22   Protected Material to any person or in any circumstance not authorized under this
  23   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  24   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  25   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  26   persons to whom unauthorized disclosures were made of all the terms of this Order,
  27

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   1   and (d) request such person or persons to execute the “Acknowledgment and
   2   Agreement to Be Bound” that is attached hereto as Exhibit A.
   3

   4   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   5   PROTECTED MATERIAL
   6         When a Producing Party gives notice to Receiving Parties that certain
   7   inadvertently produced material is subject to a claim of privilege or other protection,
   8   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   9   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
  10   procedure may be established in an e-discovery order that provides for production
  11   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
  12   (e), insofar as the parties reach an agreement on the effect of disclosure of a
  13   communication or information covered by the attorney-client privilege or work
  14   product protection, the parties may incorporate their agreement in the stipulated
  15   protective order submitted to the court.
  16

  17   12.   MISCELLANEOUS
  18         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  19   person to seek its modification by the Court in the future.
  20         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  21   Protective Order no Party waives any right it otherwise would have to object to
  22   disclosing or producing any information or item on any ground not addressed in this
  23   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  24   ground to use in evidence of any of the material covered by this Protective Order.
  25         12.3 Filing Protected Material. A Party that seeks to file under seal any
  26   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  27   only be filed under seal pursuant to a court order authorizing the sealing of the
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   1   specific Protected Material at issue. If a Party's request to file Protected Material
   2   under seal is denied by the court, then the Receiving Party may file the information
   3   in the public record unless otherwise instructed by the court.
   4

   5   13.   FINAL DISPOSITION
   6         After the final disposition of this Action, as defined in paragraph 4, within 60
   7   days of a written request by the Designating Party, each Receiving Party must return
   8   all Protected Material to the Producing Party or destroy such material. As used in
   9   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  10   summaries, and any other format reproducing or capturing any of the Protected
  11   Material. Whether the Protected Material is returned or destroyed, the Receiving
  12   Party must submit a written certification to the Producing Party (and, if not the same
  13   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  14   (by category, where appropriate) all the Protected Material that was returned or
  15   destroyed and (2) affirms that the Receiving Party has not retained any copies,
  16   abstracts, compilations, summaries or any other format reproducing or capturing any
  17   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  18   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  19   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  20   reports, attorney work product, and consultant and expert work product, even if such
  21   materials contain Protected Material. Any such archival copies that contain or
  22   constitute Protected Material remain subject to this Protective Order as set forth in
  23   Section 4 (DURATION).
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                                                  15              Case No. 2:20-cv-04058-MCS-(PVCx)
                                    STIPULATED PROTECTIVE ORDER
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   1   14.   Any willful violation of this Order may be punished by civil or criminal
   2   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
   3   authorities, or other appropriate action at the discretion of the Court.
   4

   5   FOR GOOD CAUSE SHOWN BY THE PARTIES’ STIPULATION, IT IS SO
   6   ORDERED.
   7

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   9   DATED: November 2, 2020                     __________________________________
                                                   HON. PEDRO V. CASTILLO
  10                                               United States Magistrate Judge
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                                                  16              Case No. 2:20-cv-04058-MCS-(PVCx)
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   1                                    EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the United States
   7   District Court for the Central District of California on ______________[date] in the
   8   case of Platinum Tools, LLC v. Simply45, LLC et al. (Case No. CV 20-04058-MCS-
   9   PVCx). I agree to comply with and to be bound by all the terms of this Stipulated
  10   Protective Order and I understand and acknowledge that failure to so comply could
  11   expose me to sanctions and punishment in the nature of contempt. I solemnly
  12   promise that I will not disclose in any manner any information or item that is subject
  13   to this Stipulated Protective Order to any person or entity except in strict compliance
  14   with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint __________________________ [full
  19   name] of _______________________________________ [full address and
  20   telephone number] as my California agent for service of process in connection with
  21   this action or any proceedings related to enforcement of this Stipulated Protective
  22   Order.
  23   Date: ______________________________________
  24   City and State where signed: _________________________________
  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
  28
                                                 17               Case No. 2:20-cv-04058-MCS-(PVCx)
                                    STIPULATED PROTECTIVE ORDER
